                       Case 4:16-cr-00003-KGB                  Document 249             Filed 08/03/17          Page 1 of 9
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1




                                                          Eastern District of Arkansas                                                    K,CLERK
                                                                       )
                UNITED STATES OF AMERICA                               )      JUDGMENT IN A CRIMINAL CASE                                 DEPCLERK

                                  v.                                   )
                                                                       )
                   JUAN MARCELL ALLEN                                         Case Number: 4:16-cr-00003-07 KGB
                                                                       )
                                                                       )      USM Number: 30775-009
                                                                       )
                                                                       )       CHERYL K. MAPLES
                                                                       )      Defendant's Attorney
THE DEFENDANT:
1iZJ pleaded guilty to count(s)        1
                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-




D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
 21 U.S.C. §§ 846 and              Conspiracy to Possess with Intent to Distribute and                       12/16/2015                  1
 841(a)(1) and (b)(1)(C)           Distribute Methamphetamine, a Class C Felony



       The defendant is sentenced as provided in pages 2 through                7        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
1iZJ Count(s)    18                                     ~ is      D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any: change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in econonnc circumstances.

                                                                          8/3/2017
                                                                         Date of Imposition of Judgment




                                                                          Kristine G. Baker, United States District Judge
                                                                         Name and Title of Judge


                                                                                ~- 3, ~Vfr
                                                                         Date
                      Case 4:16-cr-00003-KGB                 Document 249             Filed 08/03/17         Page 2 of 9
AO 2458 (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                      Judgment - Page _    _c_2_ of   7
DEFENDANT: JUAN MARCELL ALLEN
CASE NUMBER: 4:16-cr-00003-07 KGB

                                                             IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
46 months.




     lil1 The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in residential substance abuse treatment, and educational and vocational
programs during incarceration. The Court further recommends the defendant be incarcerated in the Forrest City FCI facility.



     liZI' The defendant is remanded to the custody of the United States Marshal.

     0     The defendant shall surrender to the United States Marshal for this district:

           0   at                                 0   a.m.      0   p.m.     on

           0   as notified by the United States Marshal.

     0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           0   before 2 p.m. on

           0   as notified by the United States Marshal.

           0   as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                          to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                           By ------=-===,,-,,.,--,--,-------,-----------~
                                                                                                DEPUTY UNITED STATES MARSHAL
                      Case 4:16-cr-00003-KGB               Document 249            Filed 08/03/17          Page 3 of 9
AO 2458 (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                        Judgment-Page          of
DEFENDANT: JUAN MARCELL ALLEN
CASE NUMBER: 4:16-cr-00003-07 KGB
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:         3 years.


                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    l!1' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                  Judgment-Page - -4- - 0 f - - -7- - -
DEFENDANT: JUAN MARCELL ALLEN
CASE NUMBER: 4:16-cr-00003-07 KGB

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities}, you must notify the probation officer at least l 0 days before the change. If notifying the probation officer at least l 0
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
l 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                       Date - - - - - - - - - - - -
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AO 245B(Rev. 11/16)    Judgment in a Criminal Case
                      Sheet 30 - Supervised Release
                                                                                           Judgment-Page   __Q_ of       7
DEFENDANT: JUAN MARCELL ALLEN
CASE NUMBER: 4:16-cr-00003-07 KGB

                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant must participate under the guidance and supervision of the probation office in a substance abuse treatment
 program which may include testing, outpatient counseling, and residential treatment. Further, he must abstain from the
 use of alcohol throughout the course of treatment.

 He must pay for the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per month, based
 on ability to pay as determined by the probation office. If he is financially unable to pay for the cost of treatment, the
 co-pay requirement shall be waived.
                       Case 4:16-cr-00003-KGB                    Document 249              Filed 08/03/17         Page 6 of 9
AO 245B (Rev. 11116)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment- Page -~6-   of       7
 DEFENDANT: JUAN MARCELL ALLEN
 CASE NUMBER: 4:16-cr-00003-07 KGB
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                   JVTA Assessment*                  Fine                        Restitution
 TOTALS            $ 100.00                     $ 0.00                            $ 0.00                      $ 0.00


 D The determination ofrestitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 0   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paynient, unless specified otherwise in
     the priority: order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

  Name of Payee                                                                Total Loss**     Restitution Ordered Priority or Percentage




TOTALS                                                                   $                 o.oo s____--=o=.o=o

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the              D fine       D restitution.
      D the interest requirement for the           D     fine    D   restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.                              ·
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                            Case 4:16-cr-00003-KGB                    Document 249              Filed 08/03/17           Page 7 of 9
AO 245B (Rev. 11/16)        Judgment in a Criminal Case
                            Sheet 6 - Schedule of Payments
                                                                                                                                     7_ of
                                                                                                                    Judgment- Page _ _                       7
DEFENDANT: JUAN MARCELL ALLEN
CASE NUMBER: 4:16-cr-00003-07 KGB

                                                              SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Ill   Lump sum payment of$          100.00                due immediately, balance due

                  0     not later than                                    , or
                  0     in accordance with     0   C,     0    D,     0    E,or      0 Fbelow; or
B           0     Payment to begin immediately (may be combined with               oc,         OD, or        0 F below); or
 C          0     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                               (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D           0     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                                (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
                  term of supervision; or

E           O     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
                  imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F           O     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 0          Joint and Several

            Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
            and corresponding payee, if appropriate.




 0          The defendant shall pay the cost of prosecution.

 0          The defendant shall pay the following court cost(s):

 l!Z'.'.i   The defendant shall forfeit the defendant's interest in the following property to the United States:
             See Preliminary Order of Forfeiture attached hereto.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) community restitution, (7) NT A assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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        Case 4:16-cr-00003-KGB Document 220 Filed 04/05/17 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DMSION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                Case No. 4:16-cr-00003-07 KGB

JUAN MARCELL ALLEN                                                                    DEFENDANT

                            PRELIMINARY ORDER OF FORFEITURE

        The Court orders that:

        1.      As the result of the March 9, 2017, guilty plea of Juan Marcell Allen ("Defendant"),

Defendant shall forfeit to the United States, under 21 U.S.C § 853, 18 U.S.C. § 924(d) and 28 U.S.C.

§ 2461 (c), the following property:

                A.       One Ruger model P95, 9mm Luger pistol, serial number 318-74512;

                B.       One box of Federal 38 Special ammunition containing 35 live rounds; and

                C.       All ammunition seized on September 30, 2015.

(collectively "property subject to forfeiture").

        2.      Upon the entry of this Order, the United States Attorney General or a designee

(collectively "Attorney General") is authorized to seize the above-listed property and to conduct any

discovery proper in identifying, locating, or disposing of the property subject to forfeiture. Fed. R.

Crim. P. 32.2(b)(3).     Further, the Attorney General is authorized to commence any applicable

proceeding to comply with statutes governing third party rights.

        3.      The United States shall publish, in such a manner as the Attorney General may direct,

notice of this Order and the United States' intent to dispose of the property subject to forfeiture. The

United States may also, to the extent practicable, provide written notice to any person known to have

an alleged interest in the property subject to forfeiture.

        4.      Any person, other than Defendant, asserting a legal interest in the property subject to

forfeiture may petition the Court for a hearing without a jury to adjudicate the validity of his or her
      Case 4:16-cr-00003-KGB Document 249 Filed 08/03/17 Page 9 of 9
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alleged interest in the property and for an amendment of this Order. See 21 U.S.C. § 853(n)(2); 28

U.S.C. § 2461(c). This petition must be filed within 30 days of the final publication of notice or receipt

of notice, whichever is earlier. 21 U.S.C. § 853(n)(2).

        5.      This Preliminary Order of Forfeiture shall become final as to Defendant at the time of

sentencing and shall be made part of the sentence and included in the judgment. Fed. R. Crim P.

32.2(b)(4)(A). If no third party files a timely claim, this Order shall become the Final Order of

Forfeiture. Fed. R. Crim. P. 32.2(c)(2).

        6.      Any petition filed by a third party asserting an interest in the property subject to

forfeiture shall be signed by the petitioner under penalty of perjury and shall set forth the nature and

extent of the petitioner's right, title, or interest in the property subject to forfeiture, the time and

circumstances of the petitioner's acquisition of the right, title, or interest in the property subject to

forfeiture, any additional facts supporting the petitioner's claim, and the relief sought.

        7.      After the disposition of any motion filed under Federal Rule of Criminal Procedure

32.2(c)(l)(A) and before a hearing on the petition, discovery may be conducted in accordance with the

Federal Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to

resolve factual issues.

        8.      The United States shall have clear title to the property subject to forfeiture following

the Court's disposition of all third-party interests, or, if none, following the expiration of the period

provided for the filing of third party petitions.

        9.      The Court shall retain jurisdiction to enforce this Order and to amend it as necessary.

See Fed. R. Crim. P. 32.2(e).

        It is so ordered this 5th day of April, 2017.




                                                        United States District Judge


                                                        2
